
In re Angelo, Deanna; Ronquillo-Vend-ees; — Other(s); Applying for Writ of Cer-tiorari and/or Review, Parish of Plaque-mines, 25th Judicial District Court Div. B, Nos. 31-205, 29-749, 43-218, 43-282, 43-455, 44-374, 44-546, 44-578, 44-579; to the Court of Appeal, Fourth Circuit, No(s). 2001-CA-1548, 2001-CA-1549, 2001-CA-1550, 2001-CA-1551, 2001-CA-1552, 2001-CA-1553, 2001-CA-1554, 2001-CA-1555, 2001-CA-1556.
Denied.
CALOGERO, C.J., would grant the writ.
